      CASE 0:17-cv-04496-JNE-HB Document 19 Filed 10/17/17 Page 1 of 9



                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA


Animal Legal Defense Fund; and               Case No. 17-cv-4496
Lockwood Animal Rescue Center
                                             Judge Joan N. Ericksen
                               Plaintiffs,

v.                                           DECLARATION OF MATTHEW
                                             SIMMONS IN SUPPORT OF
Fur-Ever Wild; Wolves, Woods &               PLAINTIFFS’ MOTION FOR
Wildlife; and Teresa Lynn Petter,            TEMPORARY RESTRAINING
                                             ORDER
                            Defendants.



                    DECLARATION OF MATTHEW SIMMONS

I, Matthew Simmons, declare as follows:

       1.     I am an adult resident of Frazier Park, California, where I work as the

Director of Operations at Lockwood Animal Rescue Center (“Lockwood”).

       2.     Lockwood is a nonprofit animal sanctuary that provides lifetime care to

wolves, wolf-dogs, and other animals. Wolf-dogs are individuals with substantial genetic

contributions and traits from both wild wolves and domestic dogs. As part of its provision

lifetime care, Lockwood provides ongoing enrichment, huge outdoor enclosures, and

animal-to-animal interactions. Lockwood started on a 20-acre facility in Frazier Park,

California, and recently purchased the adjoining 3,000 acres to create a buffer for rescued

animals. Lockwood is not open to the public. It is a 501(c)(3) tax-exempt corporation

supported by charitable donations.




                                             1
       CASE 0:17-cv-04496-JNE-HB Document 19 Filed 10/17/17 Page 2 of 9



       3.     In addition to providing lifetime care to animals, Lockwood facilitates animal

rescue operations, advocates for pro-wolf policies, and engages in wild wolf protection.

Lockwood also has a special program for returning combat veterans to volunteer at the

sanctuary that promotes healing for both the veterans and the animals.

       4.     I became Director of Operations at Lockwood when the sanctuary officially

opened in 2009. Prior to becoming Director of Operations at Lockwood, I spent two years

and over 2,000 hours working with inherently dangerous animals such as wolves, wolf-

dogs, tigers, and lions.

       5.     As Director of Operations, I am responsible for overseeing the care of wolves

at the sanctuary, training new staff how to take care of animals, organizing the rescue of

wolves from illegal operations, engaging in wild wolf protection efforts, and training law

enforcement and animal control agencies to identify and handle wild animals such as

wolves and wolf-dogs.

       6.     I work with many wolves and wolf-dogs in my capacity as Director of

Operations at Lockwood. I have rescued over two hundred wolves and around eight

hundred wolf-dogs in the last ten years. In this capacity I have worked with many

government agencies to help execute seizures of illegally owned exotic animals such as

wolves, bears, tigers, and lions. I have worked with the federal Fish and Wildlife Services,

Maine Island Fisheries, Venture County Police Department, and Kern County on animal

seizures.

       7.     Additionally, I am familiar with the physiological differences between

wolves, dogs, and wolf-dogs. I conduct regular trainings to help law enforcement and


                                             2
       CASE 0:17-cv-04496-JNE-HB Document 19 Filed 10/17/17 Page 3 of 9



animal control individuals identify wolves and wolf-dogs. I have performed these trainings

at the New York Police Department, American Society for the Prevention of Cruelty to

Animals, Los Angeles Police Department, and many smaller jurisdictions around the

country.

       8.     I first heard about Teresa Petter and Fur-Ever Wild around in 2015. I was

engaged in on-the-ground efforts to help protect wild gray wolves from a wolf hunt

occurring around the Montana and Idaho border. The wolf hunt organizers knew that

Lockwood agents were in the region to attempt to save the lives of wolves targeted by the

hunt. The wolf hunt organizers posted pictures of themselves on social media holding up

dead gray wolves in a manner that I perceived as taunting Lockwood.

       9.     Curiously, I found no evidence of wild gray wolves in the area where the

hunt was supposedly occurring even though I am trained at tracking and identifying wild

wolves. I investigated the wolf hunting organizers online and discovered a conversation on

an online message board on the “Kill All Wolves” website. Messages in that discussion

stated that the wolf hunt organizers did not obtain the dead gray wolves they were posing

with on the social media pictures by hunting them in the wild, but rather received the gray

wolves from Teresa Petter in Minnesota.

       10.    In response to discovering this information, I began to investigate Teresa

Petter and Fur-Ever Wild by researching her operation online and opening dialogue with

other people better connected to her. I learned that she owns a property in Minnesota where

she displays dozens of fur-bearing animals including gray wolves, foxes, and wild cats

such as cougars. I also learned that she kills these animals, pelts them, and sells their other


                                              3
      CASE 0:17-cv-04496-JNE-HB Document 19 Filed 10/17/17 Page 4 of 9



body parts in her gift shop and at off-site events such as the Sturgis Motorcycle Rally and

hunting expositions.

       11.    This research confirmed for me that Teresa Petter and Fur-Ever Wild were

the source of the dead gray wolves that the Montana-Idaho wolf hunt organizers posted on

social media to taunt Lockwood and other wolf advocates. I fear that Fur-Ever Wild will

continue to provide dead gray wolves to other people, and that such occurrences will

continue to distract Lockwood from pursuing its normal activities.

       12.    I felt – and continue to feel – grave concern for the lives and welfare of the

gray wolves and other animals at her facility.

       13.    In addition to concern for the wolves, I also felt and continue to feel concern

for Lockwood as an institution. Fur-Ever Wild’s provision of dead gray wolves to people

who post on social media caused a disruption to our operations and diverted Lockwood

staff time to investigate the wolf deaths in Montana and Idaho.

       14.    I determined that Fur-Ever Wild was at a high risk of being shut down due

to the unlawful nature of the operation, including killing of threatened gray wolves, selling

gray wolf pelts and parts, and failing to provide proper care to animals at the facility.

       15.    As a prominent national wolf rescue organization, Lockwood’s credibility

and reputation with supporters, charitable donors, and the public at large would be

jeopardized if we did nothing to counteract Fur-Ever Wild’s killing of grey wolves, selling

of grey wolf parts, and failing to provide proper care for wolves. Lockwood’s credibility

and reputation would also be damaged if we are not prepared to rescue wolves from her




                                              4
      CASE 0:17-cv-04496-JNE-HB Document 19 Filed 10/17/17 Page 5 of 9



facility if it were ever shut down by a government agency due to the illegal nature of the

operation.

       16.    In 2016, LARC decided to invest a significant amount resources to

investigate and counteract Fur-Ever Wild’s exhibition and pelting operation because of

these concerns.

       17.    In the fall of 2016 Lockwood paid to fly its President Lorin Lindner and me

to Minnesota on behalf of Lockwood to investigate and counteract Fur-Ever Wild’s

operation. We spent one week in the area and paid for several nights of hotels, a car rental,

and other travel costs.

       18.    While there, I paid admission to visit the Fur-Ever Wild facility. I personally

observed approximately forty wolves on exhibit. Signs for the wolf exhibits described them

simply as “Gray Wolves.” My observations confirmed that the animals were in fact gray

wolves and not hybrids of any kind. I based this observation on my ten years of experience

handling various species of wolves and wolf-dogs on a regular basis.

       19.    I observed several issues that made me concerned about the welfare of the

wolves, and led me to believe they were suffering physically and mentally due to conditions

at the facility. The wolves did not appear to be receiving adequate veterinary care because

I noticed untreated infections on some wolves. Two wolves had serious eye infections.

Another one had a very pronounced limp.

       20.    Additionally, I was concerned by the apparent lack of a system to identify

wolves in each enclosure. Lockwood and other reputable animal facilities I am familiar

with attach the animals’ names and specific descriptions to ID tags on the outside of their


                                             5
       CASE 0:17-cv-04496-JNE-HB Document 19 Filed 10/17/17 Page 6 of 9



enclosures. In the event of an emergency or other situation requiring identification of

specific animals. At Fur-Ever Wild, there was no way to identify one animal from another

with animal descriptions.

       21.    I also saw visitors feeding wolves high quantities of hot dogs which are not

nutritionally healthy for wolves. Fur-Ever Wild sells hot dogs to visitors to feed to wolves.

I saw no food in the enclosure other than hot dogs that visitors were dumping into the

enclosures with PVC tubes. Hot dogs are not healthy food for wolves, but seem like a staple

in the diet of Fur-Ever Wild’s wolves based on what I observed. Wolves at Lockwood, for

example, eat beef, chicken, and balls of ground beef, kibble, and supplements. Wolves at

Lockwood or other wolves with a quality diet would refuse to eat a hot dog. This strongly

indicates that the wolves at Fur-Ever Wild are either conditioned to a bad diet full of hot

dogs, or that they were starving at the time that I observed them.

       22.    I noticed that the age of the animals didn’t match the size of her packs.

Whereas I expected to see several geriatric wolves around 12 or 13 years old because the

facility has possessed and bred wolves since around 2007, the oldest wolf that I saw was

five years old wolf which is not geriatric. This strongly indicates that wolves at her facility

do not grow old because they are disposed of at a very young age. Wolves live longer in

captivity than in wild, and live up to fifteen years or longer in captivity. There is a 22 year

old gray wolf named Blade at Lockwood.

       23.    While at Fur-Ever Wild I also visited the gift shop. The gift shop was on the

same property as the animals. The gift shop was full of animal pelts and other parts of the

species of animals on exhibit. I noticed several gray wolf pelts in the gift shop in a basket


                                              6
       CASE 0:17-cv-04496-JNE-HB Document 19 Filed 10/17/17 Page 7 of 9



and on the walls. I touched and inspected the pelts, and confirmed that they belong to gray

wolves and not wolf-dogs or other animals. I confirmed this with the size, coloring, and

hair properties of the pelts. Wolves tend to be slightly smaller than wolf-dogs, and their

hair is more thick and hollow than dog hair. Furthermore, the coloring of the pelt matched

what I would expect a gray wolf pelt to look like.

       24.    The gift shop also contained wolf teeth, which I verified were from gray

wolves because the roots tend to be almost as long as the teeth. By contrast, teeth in dogs

or wolf-dogs tend to have much shorter roots compared to the length of the tooth.

       25.    I also noticed coyote tails, fox tails, lynx furs, and other animal parts at the

gift shop.

       26.    After visiting Fur-Ever Wild, I spoke with local law enforcement officials to

implore them to take some action against Fur-Ever Wild due to the legal violations I

observed. I spoke with five people from the Dakota County Sheriff’s department and met

with an animal control officer from the local humane society. I also spoke with Eureka

Township officials. The purpose of these conversations was to present evidence of what I

perceived to be wrongful conduct due to animal mistreatment and killing, and to ask local

officials for law enforcement.

       27.    I continued following developments relating to Fur-Ever Wild after this visit,

and continued to encourage law enforcement when possible. I also developed plans to

rescue the animals there and purchased equipment to carry out a rescue operation because

I anticipated it may become necessary to do.




                                              7
       CASE 0:17-cv-04496-JNE-HB Document 19 Filed 10/17/17 Page 8 of 9



       28.    Recently, around September 5, 2017, I learned that Fur-Ever Wild was

ordered by the Minnesota Court of Appeals to get rid of all but one wild animals at the

facility to comply with a local ordinance prohibiting possession of wild animals. In

response to that decision, Lockwood flew a facility manager from Lockwood from New

York to Minnesota to attend a Eureka Township Commissioners Meeting on September

11, 2017. While there, Lockwood pressed local officials to shut her facility down but they

have not done so.

       29.    I am now concerned that Fur-Ever Wild will comply with the local ordinance

by killing all of the wolves in the near future, or selling them to people who will kill them.

This concern was exacerbated when I read a recent inspection report from the United States

Department of Agriculture citing Fur-Ever Wild for disposing of two gray wolves without

keeping any records about the whereabouts of the wolves.

       30.    As long as Fur-Ever Wild killing the wolves remains a possibility, Lockwood

will continue fervently trying to prevent Fur-Ever Wild from killing the wolves by talking

to local officials and investigating the operation.




                                              8
      CASE 0:17-cv-04496-JNE-HB Document 19 Filed 10/17/17 Page 9 of 9




      I declare under penalty of perjury that the foregoing is true and correct to the best
of my knowledge and belief.




Executed on October 5, 2017                              /s/Matthew Simmons
                                                           Matthew Simmons




                                             9
